Official Form 6-Declaration. (10/06)

                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
             Arnold C. Heath, Jr.
 In re       Angela Sue Heath                                                                                                Case No.        07-20519
                                                                                             Debtor(s)                       Chapter         7


                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of 23 sheets [total shown
on summary page plus 2], and that they are true and correct to the best of my knowledge, information, and belief.

 Date       March 14, 2007                                                                    Signature:     /s/ Arnold C. Heath, Jr.
                                                                                                                                    Debtor

 Date       March 14, 2007                                                                    Signature:     /s/ Angela Sue Heath
                                                                                                                             (Joint Debtor, if any)
                                                                                                  [If joint case, both spouses must sign.]

          DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

     I, the     [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of
the partnership] of the       [corporation or partnership] named as a debtor in this case, declare under penalty of perjury that I
have read the foregoing summary and schedules, consisting of          sheets [total shown on summary page plus 1], and that
they are true and correct to the best of my knowledge, information, and belief.

 Date                                                                                         Signature:

                                                                                                              [Print or type name of individual signing on behalf of debtor]

                              [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




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